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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

  CORNERSTONE CREDIT UNION
  LEAGUE AND CONSUMER DATA
  INDUSTRY ASSOCIATION,

           Plaintiffs,

  v.                                              No. 4:25-cv-00016-SDJ

  CONSUMER FINANCIAL PROTECTION
  BUREAU and ROHIT CHOPRA in his
  official capacity as Director of the CFPB,

          Defendants.



                DEFENDANTS’ MEMORANDUM IN OPPOSITION TO
              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                                         INTRODUCTION

        The Fair Credit Reporting Act (FCRA) prohibits creditors, subject to regulatory

 exceptions, from considering a consumer’s medical information in connection with any

 determination of that consumer’s eligibility for credit. 15 U.S.C. § 1681b(g)(2). In the rule

 challenged by Plaintiffs, “Prohibition on Creditors and Consumer Reporting Agencies

 Concerning Medical Information (Regulation V)” (Medical Debt Rule or Rule), 90 Fed. Reg.

 3276 (Jan. 14, 2025), the Consumer Financial Protection Bureau rescinded a discretionary

 regulatory exception that allowed creditors to consider certain medical information so that the

 law once again generally shields medical information from creditors’ underwriting. The Rule

 also limits the ability of consumer reporting agencies (CRAs) to provide that shielded

 information to creditors in consumer reports.

        The Rule effectuates Congress’s objectives and is consistent with FCRA, and Plaintiffs

 are unlikely to succeed on the merits of their claims to the contrary. Plaintiffs also have not

 carried their burden to demonstrate a likelihood of irreparable injury, and the balance of equities

 and public interest favor Defendants. Accordingly, Defendants respectfully request that the Court

 deny Plaintiffs’ Motion for a Preliminary Injunction.

                                          BACKGROUND

        FCRA was one of the world’s first data privacy laws, and it responded to public concern

 about the widespread dissemination of sensitive information about Americans. 90 Fed. Reg. at

 3282. One of its main purposes was enshrining a respect for consumers’ right to privacy. See 15

 U.S.C. § 1681(a)(4). The law has been amended several times since its passage in 1970,

 including through the Fair and Accurate Credit Transactions Act of 2003 (FACT Act), Pub. L.




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 108-159, 117 Stat. 1952 (2003), which added yet more privacy protections, including by

 restricting the use and transfer of consumers’ medical information in the financial system.

        Section 411 of the FACT Act added, at 15 U.S.C. § 1681b(g)(2), a broad limitation on

 creditors’ ability to obtain or use medical information in underwriting (the creditor prohibition)

 by providing that, except as permitted by certain regulatory actions, “a creditor shall not obtain

 or use medical information pertaining to a consumer in connection with any determination of the

 consumer’s eligibility, or continued eligibility, for credit.” Pub. L. 108-159, § 411. The “medical

 information” that the FACT Act protects includes information “created by or derived from a

 health care provider or the consumer, that relates to … the payment for the provision of health

 care to an individual,” i.e., information about medical debts. 15 U.S.C. § 1681a(i).

        The FACT Act also limited CRAs’ ability to provide consumer reports containing

 medical information. Pub. L. 108-159, §§ 411(a), 412(b) (codified at 15 U.S.C. §§ 1681b(g)(1),

 1681c(a)(6)). Section 412 of the FACT Act added 15 U.S.C. § 1681c(a)(6), which generally bars

 CRAs from including on any consumer report “[t]he name, address, and telephone number” of

 any medical information furnisher who has identified itself as such without restricting that

 information or coding it so as to “not identify, or provide information sufficient to infer, the

 specific provider or the nature of such services, products, or devices to a person other than the

 consumer.” 1 Id. § 412(b) (codified at 15 U.S.C. § 1681c(a)(6)(A)). Separately, the FACT Act



 1
  As relevant here, “[a] furnisher is an entity which transmits information concerning a particular
 debt owed by a particular consumer to consumer reporting agencies.” Meisel v. USA Shade &
 Fabric Structures Inc., 795 F. Supp. 2d 481, 484 (N.D. Tex. 2011). A medical information
 furnisher is a “person whose primary business is providing medical services, products, or
 devices, or the person’s agent or assignee, who furnishes information to a consumer reporting
 agency on a consumer ….” 15 U.S.C. § 1681s-2(a)(9). Section 412(a) of the FACT Act, codified
 at 15 U.S.C. § 1681s-2(a)(9), requires medical information furnishers to identify themselves as
 such to CRAs.

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 revised 15 U.S.C. § 1681b(g) to bar CRAs from including medical information on a consumer

 report, with certain exceptions. Pub. L. 108-159, § 411(a) (codified at § 1681b(g)(1)). Pursuant

 to one such exception, the prohibition does not extend to information that relates solely to

 medical debts, so long as the information is restricted or coded as provided in § 1681c(a)(6).

        Section 412 of the FACT Act also included a “technical and conforming amendment[]”

 that added cross-references to the newly enacted § 1681c(a)(6) to the creditor and CRA

 prohibitions enacted by § 411 and codified at 15 U.S.C. § 1681b(g)(1) and (2). With those

 “technical” amendments, those prohibitions refer to medical information “(other than medical

 [contact] information treated in the manner required under [§ 1681c(a)(6)]).” Id. § 412(f)(1)–(2)

 (codified at 15 U.S.C. § 1681b(g)(1)–(2)) (bracketed text only in § 1681b(g)(1)).

        The FACT Act also granted authority to the federal financial banking agencies and the

 National Credit Union Administration (Agencies) to prescribe regulations that would permit

 exceptions to the Act’s creditor prohibition—but only where such exceptions were “necessary

 and appropriate to protect legitimate operational, transactional, risk, consumer, and other needs”

 (including administrative verification purposes), “consistent with the intent … to restrict the use

 of medical information for inappropriate purposes.” Pub. L. 108-159, § 411(g)(5)(A) (previously

 codified at 15 U.S.C. § 1681b(g)(5)(A) (2003)).

        In 2005, the Agencies codified the FACT Act’s creditor prohibition in a rule but provided

 certain exceptions to it. 70 Fed. Reg. 70664, 70667–71 (Nov. 22, 2005); see 12 C.F.R. §

 1022.30(b) (2024). As relevant here, the Agencies promulgated the “financial information

 exception,” permitting creditors to obtain and use medical information about a consumer so long

 as: (1) the information was the type of information routinely used in making credit eligibility

 determinations (such as information about debts); (2) the creditor used the information in a



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 manner and to an extent no less favorably than comparable nonmedical information; and (3) the

 creditor did not take the consumer’s physical, mental, or behavioral health, condition or history,

 type of treatment, or prognosis into account when making the determination. 70 Fed. Reg. at

 70667–68; see 12 C.F.R. § 1022.30(d) (2024). But even where the financial information

 exception applied, creditors still could only obtain or use medical information in a consumer

 report where that information was properly coded in accordance with FCRA § 1681c(a)(6). See

 70 Fed. Reg. at 70668. The Agencies provided no evidence or reasoning to support their decision

 to promulgate this exception with respect to medical debts, other than a single sentence in the

 notice of proposed rulemaking that “[a] creditor should not be prohibited from obtaining or using

 information about a debt … in connection with making a credit decision, just because that debt

 happens to be for medical products or services.” 69 Fed. Reg. 23380, 23384 (Apr. 28, 2004).

        In 2011, Congress transferred rulemaking authority under much of FCRA to the Bureau,

 see Pub. L. 111-203, § 1088 (2010), and in the Medical Debt Rule, the Bureau reconsidered the

 Agencies’ central premise underlying the financial information exception. In addition to

 acknowledging the Agencies’ lack of evidence or reasoning to support the exception nearly

 twenty years ago, the Bureau noted in the Rule that more recent research shows that medical debt

 has less value than other types of debts in predicting future default for credit underwriting

 purposes. 90 Fed. Reg. at 3276. Moreover, market participants, including the three largest

 nationwide consumer reporting agencies (NCRAs), have already dramatically reduced their use

 of medical debt. The NCRAs have removed certain medical debts from consumer reports, and

 major credit scoring companies have afforded less weight to, or excluded entirely, medical debt

 information in their latest scoring models. Id. Accordingly, the Bureau rescinded the financial

 information exception previously codified at 12 C.F.R. § 1022.30(d). That left in place



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 § 1022.30(b), which generally bars a creditor from “obtain[ing] or us[ing] medical information

 pertaining to a consumer in connection with any determination of the consumer’s eligibility, or

 continued eligibility, for credit,” subject only to the remaining exceptions. See id. § 1022.30(b),

 (e)(1)(i)–(x).

         The Rule also includes provisions addressing CRAs’ responsibilities in providing

 creditors consumer reports containing medical debt information. Specifically, the Rule permits a

 CRA to include medical debt information in a consumer report furnished to a creditor only if the

 CRA (1) has reason to believe the creditor intends to use the medical debt information in a

 manner not prohibited by § 1022.30, and (2) has reason to believe the creditor is not otherwise

 legally prohibited from obtaining or using the medical debt information, including by a state law.

 90 Fed. Reg. at 3373–74. This new § 1022.38(b) of the Rule implements FCRA’s “permissible

 purposes” provision, which authorizes CRAs to furnish consumer reports only under certain

 enumerated circumstances, including where the CRA “has reason to believe” the recipient

 intends to use the information in connection with a credit transaction involving the consumer.

 15 U.S.C. § 1681b(a)(3)(A). The Bureau reasoned that if a creditor is restricted from using such

 information by FCRA § 1681b(g)(2) or § 1022.30(b) of the Rule, or any other applicable law

 (including state law), the CRA would not have “reason to believe” the recipient intended to use

 the information for credit purposes. 90 Fed. Reg. at 3307–08. The Bureau also determined that

 § 1022.38(b)(1)’s authorization for CRAs to share medical debt information was separately

 warranted as a way to foster creditors’ compliance with FCRA’s limitation on creditors’ use of

 medical information and consistent with the Bureau’s authority to “prescribe regulations as may

 be necessary or appropriate” to “prevent evasions” or “facilitate compliance” with FCRA, 15

 U.S.C. § 1681s(e)(1). See 90 Fed. Reg. at 3308.



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        Plaintiffs Cornerstone Credit Union League and the Consumer Data Industry Association

 filed suit the day the Rule was issued, raising multiple claims under the Administrative

 Procedure Act, 5 U.S.C. § 551 et seq. Compl., ECF No. 1. Shortly thereafter, Plaintiffs filed a

 motion seeking a preliminary injunction and stay of the Rule’s effective date under § 705 of the

 Administrative Procedure Act. ECF No. 9 (Mot.). That motion claims that the Medical Debt Rule

 exceeds the Bureau’s statutory authority by (1) limiting creditors’ ability to obtain and use

 medical information in connection with credit underwriting, (2) limiting CRAs’ ability to share

 medical debt information with creditors, and (3) (as Plaintiffs put it) improperly imposing

 additional requirements based on state law. Id. at 7–15.

                                             ARGUMENT

        “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

 v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). Plaintiffs must “by a clear showing,”

 Mazurek v. Armstrong, 520 U.S. 968, 972 (1997), establish that (1) they have a substantial

 likelihood of success on the merits; (2) they will suffer irreparable harm without an injunction;

 (3) the balance of equities tips in their favor; and (4) preliminary relief serves the public interest,

 Winter, 555 U.S. at 20. Failure to satisfy any of these requirements precludes injunctive relief,

 see Allied Mktg. Grp., Inc. v. CDL Mktg., Inc., 878 F.2d 806, 809 (5th Cir. 1989), and Plaintiffs

 bear a heavy burden as to each, Enter. Int’l, Inc. v. Corp. Estatal Petrolera Ecuatoriana, 762

 F.2d 464, 472 (5th Cir. 1985). In addition, “[a]n analysis of whether a stay is appropriate under

 [5 U.S.C.] § 705 considers the same elements required for injunctive relief.” Watterson v. Bureau

 of Alcohol, Tobacco, Firearms & Explosives, No. 4:23-CV-00080, 2024 WL 897595, at *20

 (E.D. Tex. Mar. 1, 2024). Because Plaintiffs meet none of the four factors warranting such

 extraordinary relief, the Court should deny their motion.



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 I.     Plaintiffs are unlikely to succeed on the merits of their statutory claims.

        A. The Bureau acted within its statutory authority in rescinding a regulatory
           exception from FCRA’s general prohibition on creditors using medical
           information in underwriting.

        FCRA prohibits creditors from obtaining or using medical information about a

 consumer—including information that relates to “the payment for the provision of health care,”

 15 U.S.C. § 1681a(i)—in connection with “any determination of the consumer’s eligibility, or

 continued eligibility, for credit.” Id. § 1681b(g)(2). That prohibition is qualified only by

 regulatory exceptions that the Bureau may promulgate. Id. § 1681b(g)(5).2 And Congress put

 constraints on the Bureau’s regulatory exception authority. To adopt an exception, the Bureau

 must determine that allowing creditors to obtain or use medical information is “necessary and

 appropriate to protect legitimate operational, transactional, risk, consumer, and other needs,” and

 that determination must be “consistent with [Congress’s] intent … to restrict the use of medical

 information for inappropriate purposes.” Id. Here, after conducting thorough analysis of

 empirical evidence, and soliciting, reviewing, and responding to public comments, the Bureau

 determined that allowing creditors to use medical information under the prior financial

 information exception does not meet this standard. 90 Fed. Reg. at 3277. Plaintiffs challenge this

 determination, and wrongly argue that the Bureau lacked statutory authority to remove the prior

 regulatory exception and thereby restore Congress’s general prohibition on creditors considering

 medical debt information in underwriting decisions. Plaintiffs’ argument ignores the explicit

 instructions Congress gave the Bureau in defining its regulatory authority under FCRA.




 2
  The statute also provides an exception, not relevant to this Rule, for regulatory determinations
 under § 1681b(g)(3)(C), which permits the Bureau or state insurance authorities to exclude
 certain communications from the definition of “consumer report.”

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        As with all disputes of statutory interpretation, “we begin with the text of the statute.”

 United States v. Lauderdale Cnty., Mississippi, 914 F.3d 960, 961 (5th Cir. 2019). Here, FCRA’s

 limitation on creditors’ access to medical information provides:

        Limitation on creditors[:] Except as permitted pursuant to paragraph (3)(C) or
        regulations prescribed under paragraph (5)(A), a creditor shall not obtain or use
        medical information (other than medical information treated in the manner required
        under section 1681c(a)(6) of this title) pertaining to a consumer in connection with
        any determination of the consumer’s eligibility, or continued eligibility, for credit.

 15 U.S.C. § 1681b(g)(2). The provision defines only two exceptions to the creditor prohibition:

 as permitted by certain regulatory action under § 1681b(g)(3)(C), see supra, n.2, or pursuant to

 regulatory exceptions promulgated under § 1681b(g)(5)(A). And even where a regulatory

 exception “permit[s]” the use of some medical information in underwriting, it may only permit

 the use of medical information “other than medical information treated in the manner required

 under section 1681c(a)(6).” Id. § 1681b(g)(2), (5) (emphasis added). Thus, § 1681b(g)(2)’s

 cross-reference to § 1681c(a)(6) ensures that, if regulations permitted creditors to obtain or use

 medical information in underwriting, creditors are nevertheless prohibited from obtaining or

 using a consumer report containing the unmasked “name, address, and telephone number” of any

 medical information furnisher that has notified the CRA of its status as such a furnisher.3 15

 U.S.C. § 1681c(a)(6); see also id. § 1681s-2(a)(9).

        The FACT Act’s structure and purpose further demonstrate that this is what FCRA

 means. See Sw. Elec. Power Co. v. United States Env’t Prot. Agency, 920 F.3d 999, 1028 (5th

 Cir. 2019) (courts interpret statutes by “looking at the full text of the statute … along with the



 3
   Contrary to Plaintiffs’ claim (at 12), the Bureau does not read the phrase “other than” in the
 statutory parenthetical as meaning “including.” Rather, the phrase “other than” in paragraph
 (g)(2)’s parenthetical serves to limit the scope of information that the Bureau may “permit[]”
 under paragraph (3)(C) or paragraph (5)(A).

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 statute’s structure and its … purpose”). There can be no doubt that the FACT Act sought to

 “restrict the use of medical information” in the financial system. 15 U.S.C. § 1681b(g)(5)(A). To

 achieve this, the FACT Act included two separate provisions. First, § 411 added the limitation on

 creditors’ use of medical information in underwriting—i.e., § 1681b(g)(2)—subject to

 exceptions the Agencies might authorize by regulation. Pub. L. 108-159, § 411. Then, § 412

 required that CRAs mask medical furnishers’ identity and contact information in consumer

 reports—i.e., § 1681c(a)(6). Notably, § 411 of the FACT Act did not include the parenthetical

 cross-referencing § 1681c(a)(6) on masking. That parenthetical was added only in a “technical

 and conforming amendment[]” in § 412. Pub. L. 108-159, § 412(f). This cross-reference ensures

 that any regulatory exception is consistent with the Act’s masking provision barring consumer

 reports from disclosing a health care provider’s identifying information.

        Under Plaintiffs’ interpretation of the § 1681b(g)(2) parenthetical, by contrast, Congress

 enacted a broad prohibition on creditors’ consideration of medical information, and then, through

 a technical and conforming amendment, allowed an exception that eviscerates the prohibition.

 “But Congress does not make radical … change[s] through technical and conforming

 amendments.” Cyan, Inc. v. Beaver Cnty. Emps. Ret. Fund, 583 U.S. 416, 431 (2018) (internal

 quotation marks and citation omitted); see also Matter of GFS Indus., LLC, 99 F.4th 223, 229

 (5th Cir. 2024) (concluding Congress would not have drastically modified a statute “through a

 cross-reference in a ‘mere conforming amendment’” (quoting Cyan, 583 U.S. at 431)). Plaintiffs’

 interpretation cannot be squared with Congress’s stated intention to restrict the use of medical

 information in the financial system.

        Notably, the Bureau’s predecessor Agencies agreed with the Bureau’s interpretation.

 When they promulgated the financial information exception, the Agencies expressly stated that



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 § 1681b(g)(2) “prohibits all creditors from obtaining or using key financial information that is

 also medical information in the credit underwriting process. [The statute] does not contain any

 specific statutory exception to this broad prohibition.” 4 70 Fed. Reg. at 33962; accord 69 Fed.

 Reg. at 23383 (“Section 411(a) of the FACT Act adds a broad new limitation on the ability of

 creditors to obtain medical information…. Specifically, new section [§1681b](g)(2) provides

 that, except as permitted by regulations, a creditor shall not obtain or use medical information”

 for credit underwriting (emphasis added)).

        Because Plaintiffs’ reading of FCRA is incorrect, they are not likely to succeed on the

 merits of their challenge to the Rule’s rescission of the financial information exception.5

        B. The Bureau acted within its statutory authority by limiting CRAs’ ability to
           share medical debt information with creditors who are prohibited from using it
           under the Rule.

        Section 1022.38(b)(1) of the Rule provides that a CRA may include medical debt

 information in a consumer report only if the CRA “[h]as reason to believe the creditor intends to

 use the medical debt information in a manner not prohibited by § 1022.30.” 90 Fed. Reg. at

 3373–74. This portion of the Rule is authorized on two independent grounds. First, it is an

 appropriate exercise of the Bureau’s authority to “prescribe regulations as may be necessary or

 appropriate … to prevent evasions or to facilitate compliance” with FCRA. 15 U.S.C.


 4
  Plaintiffs suggest that the now-rescinded financial information exception “allowed creditors to
 use even non-coded medical information” contained in consumer reports. Mot. at 2. Not so: The
 Agencies explicitly declined to permit sharing of non-coded information in consumer reports.
 See 70 Fed. Reg. at 70668.
 5
   Plaintiffs repeatedly cite the statement of a single congressperson from the bill’s floor debate.
 See Mot. at 9, 12. But Committee Reports are “more authoritative” than lawmakers’ floor
 statements. Dunn McCampbell Royalty Int., Inc. v. Nat’l Park Serv., 964 F. Supp. 1125, 1137
 (S.D. Tex. 1995), aff’d, 112 F.3d 1283 (5th Cir. 1997). And the Committee Report
 accompanying the FACT Act is unequivocal that the Act’s creditor prohibition sought to
 “establish[] that creditors are not allowed to obtain or use medical information for credit granting
 purposes.” H.R. Rep. No. 108-263, pt. 1, at 53.

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 § 1681s(e)(1). In particular, this provision facilitates creditors’ compliance with, and prevents

 evasion of, the creditor prohibition by generally barring CRAs from providing creditors with

 medical debt information they are prohibited from obtaining or using pursuant to FCRA

 § 1681b(g)(2) and § 1022.30 of the Rule. See 90 Fed. Reg. at 3308.

        Second, § 1022.38(b)(1) implements FCRA’s permissible purpose provision, 15 U.S.C.

 § 1681b(a), consistent with the Bureau’s general authority to promulgate rules to “carry out the

 purposes and objectives of [the statute],” 15 U.S.C. § 1681s(e)(1). FCRA’s permissible purpose

 provision enumerates a list of purposes for which CRAs may provide consumer reports, see id.

 § 1681b(a), and the Act generally bars CRAs from providing, and bars anyone from obtaining or

 using, a consumer report unless it is for one of the listed permissible purposes, id. § 1681b(f).

 Section 1681b(a)(3)(A) provides that one permissible purpose is when a CRA has “reason to

 believe” a recipient intends to use the information in connection with a credit transaction

 involving the consumer. Id. § 1681b(a)(3)(A). With the old financial information exception

 removed, a creditor is once again generally prohibited from obtaining or using medical debt

 information—a subcategory of medical information—in connection with any determination of

 the consumer’s eligibility for credit. 90 Fed. Reg. at 3307. Accordingly, a creditor cannot

 permissibly use a consumer report containing that information in connection with a credit

 transaction (unless a specific exception applies). Id. As a result, a CRA would not have reason to

 believe that such a creditor could intend to use the prohibited information in connection with an

 extension of credit—after all, it should not have reason to believe the creditor would violate the

 law—and thus FCRA § 1681b(a)(3)(A) would not supply a “permissible purpose” for the CRA

 to provide the information to the creditor. Section 1022.38(b)(1) of the Rule implements the

 permissible purpose provision by providing that a CRA may provide medical debt information to



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 a creditor only if the CRA “[h]as reason to believe the creditor intends to use the medical debt

 information in a manner not prohibited by § 1022.30.” 90 Fed Reg. at 3307.

            Plaintiffs turn the statute on its head, arguing that § 1681b(g)(1) expressly permits CRAs

 to report medical information to creditors. Not so. That section contains a prohibition on CRAs’

 furnishing consumer reports containing medical information, with certain exceptions. 15 U.S.C.

 § 1681b(g)(1). Under one such exception, the prohibition does not extend to certain anonymized

 debt-related information. See id. § 1681b(g)(1)(C). But that does not mean that FCRA

 affirmatively grants CRAs permission to share that anonymized information. And the limits on

 the prohibition do not trump the independent prohibition imposed by FCRA’s permissible

 purpose requirement, see § 1681b(a), nor does it foreclose the Bureau from promulgating

 regulations under § 1681s(e)(1) to effectuate that requirement or to facilitate compliance with the

 statute.

            Plaintiffs’ remaining arguments challenging § 1022.38(b)(1) also fail. First, that FCRA

 prior to the FACT Act prohibited CRAs from providing medical information to creditors without

 consumer consent does nothing to alter the statute’s current authorization of the Bureau to

 promulgate regulations both to implement FCRA and to facilitate compliance therewith. See 15

 U.S.C. § 1681s(e)(1). Second, the statement of a single congressperson made during a floor

 debate is not a persuasive tool of statutory interpretation. See NLRB v. SW Gen., Inc., 580 U.S.

 288, 307 (2017) (“[F]loor statements by individual legislators rank among the least illuminating

 forms of legislative history.”). Third, the exercise of the Bureau’s authority here is far from

 “unprecedented.” Contra Mot. at 10. As the Bureau explained, see 90 Fed. Reg. at 3316–17, this

 is not an “extraordinary case” in which the “history and the breadth of the authority that the

 agency has asserted, … provide a reason to hesitate before concluding that Congress meant to



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 confer such authority.” W. Virginia v. EPA, 597 U.S. 697, 721 (2022) (cleaned up). Here, the

 Bureau rescinded a discretionary regulatory exception and added provisions to facilitate

 compliance, as it was expressly authorized to do in § 1681s(e)(1).

        C. The Bureau acted within its statutory authority by limiting CRAs’ ability to
            share medical debt information with creditors who are prohibited from using it
            by other laws.

        For similar reasons, Plaintiffs’ challenge to § 1022.38(b)(2) is unlikely to succeed. That

 provision permits CRAs to share medical debt information with a creditor only if the CRA has

 “reason to believe the creditor is not otherwise legally prohibited from obtaining or using the

 medical debt information,” including by state law. 12 C.F.R. § 1022.38(b)(2). Where a creditor is

 legally prohibited from obtaining or using medical debt information by virtue of state law or

 some other law, a CRA would have no “reason to believe” that the creditor will (unlawfully) use

 that information in connection with a credit transaction. 90 Fed. Reg. at 3307–08. Thus, as

 above, the Bureau appropriately exercised its authority to implement FCRA’s permissible

 purposes provision by promulgating a rule prohibiting CRAs from providing a creditor a

 consumer report containing medical debt information when that creditor cannot lawfully use that

 information in connection with a credit transaction.

        Plaintiffs advance (at 13) an atextual argument that § 1681b(a) of FCRA does not limit

 CRAs based on the content of the information in a consumer report. But that is precisely what

 § 1681b(a) does: It provides that a CRA may only furnish a consumer report in connection with a

 credit transaction where the CRA “has reason to believe” that the person requesting the report

 “intends to use the information” contained therein in connection with that transaction. 15 U.S.C.

 § 1681b(a)(3)(A) (emphasis added). Plaintiffs’ argument (at 14) that the Bureau’s understanding

 of FCRA would require CRAs to police creditors’ compliance with lending regulations is



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 unpersuasive. Neither FCRA’s permissible purposes provision nor § 1022.38(b)(2) of the Rule

 requires a CRA to conduct a wide-ranging assessment of a creditor’s compliance with any

 applicable lending laws, but they do require a CRA to consider whether the creditor is prohibited

 from using the information contained in the consumer report. If a creditor is prohibited from

 obtaining or using certain information in a credit transaction, a CRA should have no “reason to

 believe” that the creditor will use that information in connection with a credit transaction.6

        Plaintiffs next claim (at 14) that the Rule unlawfully gives effect to preempted state law.

 Wrong again. Section 1022.38(b)(2) does not affect what laws are and are not preempted. 90

 Fed. Reg. at 3305 n.150. If a particular state law is preempted or otherwise invalid,

 § 1022.38(b)(2) would not prevent a CRA from including on a consumer report information that

 would have otherwise violated such law. See id. Whether FCRA or any other federal law

 preempts any particular state law was beyond the scope of the rulemaking, and, notwithstanding

 Plaintiffs’ claims, the Rule does not purport to resurrect otherwise-preempted state laws.

                                            *      *       *

        For all these reasons, Plaintiffs have no likelihood of success on the merits.7

 II.    Plaintiffs have not demonstrated that irreparable injury is likely.

        To prevail on their motion, Plaintiffs must also “clearly carr[y] [their] burden of

 persuasion,” PCI Transp., Inc. v. Fort Worth & W. R. Co., 418 F.3d 535, 545 (5th Cir. 2005), to

 demonstrate “a substantial threat that [they] will suffer irreparable injury if the injunction is not


 6
  The cases Plaintiffs cite on this point (at 14 n.2) are inapposite. None concern a claim that the
 creditor was prohibited from considering the information contained in the reports provided.
 7
   If the Court concluded that Plaintiffs were likely to succeed on some, but not all, claims, the
 Court should enjoin only those “the portions of the Rule … for which [the plaintiff] has shown a
 likelihood of success on the merits.” Int’l Fresh Produce Ass’n v. United States Dep’t of Lab.,
 2024 WL 4886058, at *5 (S.D. Miss. Nov. 25, 2024); see also 90 Fed. Reg. at 3351 (discussing
 severability of Rule’s components).

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 granted,” Morrell v. City of Shreveport, 536 F. App’x 433, 434 (5th Cir. 2013). Plaintiffs do not

 meet that burden. Plaintiffs have not produced sufficient evidence to show that either the

 creditor-facing or the CRA-facing provisions of the Rule are likely to cause irreparable injury

 either to Plaintiffs’ members or to Plaintiffs themselves.8

        A. Plaintiffs have not demonstrated an imminent likelihood of irreparable injury
           from the Rule’s amendments to the restriction on creditors.

        Plaintiffs fail to establish irreparable harm from the creditor-facing provisions of the

 Rule. While they claim that credit union members of Cornerstone and Cornerstone itself will

 suffer such harm, they provide no competent evidence establishing it. As for Cornerstone’s

 members, Plaintiffs provide a single declaration from a creditor claiming irreparable injury from

 the Rule—a declaration purporting to be from an executive at “Anonymous Credit Union A,” a

 professed member of Cornerstone. See ECF No. 9-2. But this is not competent evidence. The

 witness purporting to sign the declaration is anonymous, depriving this Court of its power to hold

 a declarant to account for their statements under penalty of perjury. See, e.g., Williams v.

 D’Argent Franchising, L.L.C., 2023 WL 3059192, at *13-14 (W.D. La. Apr. 24, 2023) (“The

 lack of a signatory for a declaration prevents any person or entity from being held to the

 statements within under penalty of perjury.”). This Court’s Local Rules provide a process for

 litigants to file material under seal by seeking the court’s permission to do so via motion. See

 L.R. CV-5(a)(7). Instead, Plaintiffs have contravened the basic principle that witnesses do not

 testify anonymously—and provided no justification whatsoever. Anonymous Credit Union A’s




 8
   Only the provisions of the Rule that Plaintiffs can establish will cause them irreparable harm
 can be enjoined, as a preliminary injunction “should be no more burdensome to the defendant
 than necessary to provide complete relief” to plaintiffs who have met their burden of persuasion,
 Madsen v. Women's Health Ctr., Inc., 512 U.S. 753, 765 (1994) (cleaned up).

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 declaration is not competent evidence, and Plaintiffs thus fail to demonstrate that any of their

 members is likely to suffer irreparable injury from the Rule’s restrictions on creditors.

        Plaintiffs also claim that Cornerstone itself will suffer irreparable harm from the creditor-

 facing provisions absent a preliminary injunction. ECF No. 9-1 at ¶ 9. That claim does not

 withstand scrutiny. Cornerstone says it will expend resources to update its training materials for

 member credit unions. ECF No. 9-1 at ¶ 7. But Cornerstone fails to mention that its membership

 is a paid service whose value is grounded in its offering of training and education to increase

 members’ compliance with applicable laws and regulations. See, e.g., Cornerstone, Compliance

 Assistance, Services Available to League Members, available at https://www.cornerstoneleague

 .coop/services/compliance (offering “an extensive array of compliance services” to assist

 members in the face of “consistently changing” rules and regulations). The Rule may well

 improve Cornerstone’s financial outlook via increased demand for its membership. At a

 minimum, the net effect of the Rule on Cornerstone’s financial future is uncertain. And as a

 result, Cornerstone fails to meet its burden.

        Because Plaintiffs fail to establish that the Rule’s creditor-facing provisions will cause

 irreparable injury to Plaintiffs or any of their members, there is no basis to preliminarily enjoin

 those parts of the Rule.

    B. Plaintiffs have not demonstrated an imminent likelihood of irreparable injury from
       the Rule’s restrictions on consumer reporting agencies.

        Plaintiffs similarly fail to establish irreparable injury from the Rule’s CRA-facing

 provisions. While they claim that CDIA’s members and CDIA itself will suffer such harm, their

 claims do not withstand scrutiny.

        As for members, Plaintiffs have offered declarations from each of the three NCRAs, each

 of which states it is a member of CDIA, but none of the declarations demonstrates that the


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 purported harm they claim is “real, imminent, and significant—not merely speculative or

 potential[.]” Tex. Health & Hum. Servs. Comm’n v. United States, 166 F. Supp. 3d 706, 710

 (N.D. Tex. 2016). In considering whether to grant a preliminary injunction, “the harm considered

 by the district court is necessarily confined to that which might occur in the interval between the

 ruling on the preliminary injunction and trial on the merits.” Aquifer Guardians in Urb. Areas v.

 Fed. Highway Admin., 779 F. Supp. 2d 542, 573 (W.D. Tex. 2011) (internal citation omitted).

 The NCRA declarations all fail to establish irreparable harm during that relevant interval.

 TransUnion claims that it will incur costs “over the next couple of years,” ECF No. 9-6 at ¶ 6,

 but makes no claims about specific costs that it will incur during the pendency of this action.

 Similarly, Experian and Equifax claim they will incur costs but decline to give any timeline at

 all. See ECF No. 9-5 at ¶ 6; ECF No. 9-4 at ¶ 7. These statements fail to satisfy Plaintiffs’ burden

 to establish that any such costs must be incurred before a merits decision can be issued.9

        The other assertions the NCRAs make about potential operational steps they might take

 to comply with the Rule don’t help Plaintiffs meet their burden either. Plaintiffs must establish

 that any harm they stand to incur before a final judgment is “more than de minimis[.]” Louisiana

 v. Biden, 55 F.4th 1017, 1035 (5th Cir. 2022). But while the NCRAs spin out higher-effort

 implementation options, they admit that they have an option involving only de minimis effort:

 suppression of all medical debt tradelines from consumers’ reports, at least until a merits

 decision is reached in this case. See ECF No. 9-4 at ¶ 6a; ECF No. 9-6 at ¶ 5a.

        There can be little doubt that operationalizing this suppression option is readily doable:

 Each NCRA has already voluntarily removed a host of medical debts from consumer credit


 9
  While Plaintiffs also offer an anonymous declaration purportedly from an executive at
 “anonymous CRA A,” ECF No. 9-7, that declaration is not competent evidence for the reasons
 discussed above. See supra at IIA.

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 reports—those reported by debt collectors that have balances of $500 or less, are less than 12

 months past due, and that have been paid. See ECF No. 9-4 at ¶ 5; ECF No. 9-5 at ¶ 4; ECF No.

 9-6 at ¶ 4. Those changes eliminated an estimated 70% of medical debt collection tradelines from

 consumer reports.10 Having already made “extensive,” ECF No. 9-4 at ¶ 5, changes to their

 systems to identify medical debts reported by debt collectors (how else could the NCRAs remove

 medical debts under $500?), it is simply not plausible that they lack the infrastructure to suppress

 the remaining debts reported by debt collectors too—and the NCRAs do not provide evidence to

 suggest otherwise. The NCRAs can also readily identify the remaining medical debts covered by

 the Rule—those reported by the few healthcare providers who report debts11—because those

 providers have long been required to self-identify to CRAs, see 15 U.S.C. § 1681s-2(a)(9). The

 kind of de minimis effort required to suppress already-identified information does not qualify as

 irreparable harm.12 And because the NCRAs give no rationale why more intricate

 implementation must take place before a merits decision is reached, the NCRAs offer only the

 kind of “unsupported, conclusory statements” that are “insufficient to demonstrate entitlement to




 10
    See BusinessWire, Equifax, Experian, and TransUnion Support U.S. Consumers With Changes
 to Medical Collection Debt Reporting (March 18, 2022), https://www.businesswire.com/news/
 home/20220318005244/en/Equifax-Experian-and-TransUnion-Support-U.S.-Consumers-With-
 Changes-to-Medical-Collection-Debt-Reporting.
 11
    See Experian, First Changes to Reporting of Medical Collection Debt Roll Out July 1, 2022,
 https://www.experianplc.com/newsroom/press-releases/2022/first-changes-to-reporting-of-
 medical-collection-debt-roll-out-july-1-2022 (last visited Jan. 23, 2025) (explaining that most
 healthcare providers “do not directly report” to the NCRAs).
 12
    Plaintiffs also argue that suppression would be costly because restoring suppressed data would
 be “difficult[.]” See Mot. at 17. But Plaintiffs provide no explanation why the infrastructure they
 already built to identify and filter medical debt would not easily facilitate restoration. And their
 claim that suppression would have “irreversible” results would only occur if they “chose[] to
 delete” the information, id., which nothing in the Rule requires them to do.

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 the extraordinary relief” of a preliminary injunction.13 Coleman v. Bank of N.Y Mellon, 2013 WL

 1187158, at *8 (N.D. Tex. Mar. 4, 2013), R&R adopted, 2013 WL 1189264 (N.D. Tex. Mar. 21,

 2013).

          Like Cornerstone, CDIA also attempts to demonstrate that it itself is harmed by the Rule.

 Like Cornerstone, CDIA fails to meet its burden. CDIA argues that if medical debt furnishers

 stop furnishing to CRAs, CDIA may lose revenue “as a result of fewer companies enrolling in

 Metro2 education classes.” ECF No. 9-3 at ¶ 9. CDIA does not disclose, however, that it also

 stands to benefit financially from the Rule, as it offers classes on FCRA compliance at a cost of

 $127 per person to cover topics including permissible purposes, compliance procedures, and user

 requirements. See, e.g., https://www.cdiaonline.org/certificate-program-for-cras/. Indeed, CDIA

 currently offers a $175 seminar on the proposed rule. See https://www.cdiaonline.org/cfpb-

 proposed-rule-to-ban-medical-debt/. Even taking CDIA’s speculation at face value that it may

 see a decrease in course demand by medical debt furnishers, it is at least equally plausible that it

 will see an increase in course demand by CRAs and others. These facts fall far short of

 establishing that the Rule’s CRA-facing provisions will likely cause CDIA irreparable harm.

          For these reasons, Plaintiffs have failed to meet their burden on the irreparable-injury

 requirement for a preliminary injunction.

 III.     The balance of equities and public interest favor Defendants.

          The final two preliminary injunction factors, the balance of equities and the public

 interest, “merge” when the government opposes an injunction. See Nken v. Holder, 556 U.S. 418,

 435 (2009). Here, they weigh against an injunction because Plaintiffs’ speculative assertion of de


 13
   No declaration attributes costs to § 1022.38(b)(2). Plaintiffs thus fail to establish that that
 provision gives rise to irreparable harm. And even if they had provided evidence specifying harm
 due to § 1022.38(b)(2), the NCRAs still face only de minimis costs if they suppress the data.

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 minimis harm during the pendency of this matter is outweighed by the government’s and the

 public’s interest in implementing the consumer protections Congress enacted. See, e.g.,

 Maryland v. King, 567 U.S. 1301, 1303 (2012) (“Any time a State is enjoined by a court from

 effectuating statutes enacted by representatives of its people, it suffers a form of irreparable

 injury.” (Roberts, C.J., in chambers (cleaned up))); cf. E.T. v. Paxton, 19 F.4th 760, 769–70 (5th

 Cir. 2021) (government suffers irreparable harm from circumvention of executive branch action).

        The Rule implements the strong privacy protections for consumers’ sensitive medical

 information that Congress established via the FACT Act nearly 20 years ago. And the Bureau’s

 analysis of its benefits and costs concludes that, indeed, consumers stand to benefit from

 “increased access to credit and a reduction in the use of consumer reporting to induce payment of

 medical collections, including those that may be inaccurate.” 90 Fed. Reg. at 3323.

        As for Plaintiffs’ claim that the Rule will increase credit risk, the Bureau’s analysis of the

 relevant evidence concluded that the use of medical debt “does not improve the predictiveness of

 credit eligibility determinations[.]” Id. at 3335. That’s no surprise—an industry evaluation of the

 NCRAs’ voluntary elimination of most medical debts found virtually no change in lenders’

 ability to rank-order risk using FICO Scores. Id. at 3333–34. And the Rule fares better than

 doing no harm to creditors—it would affirmatively benefit them. According to the Bureau’s

 empirical analysis, the increase in access to credit for consumers means that their lenders “would

 experience an increase in profitable loan volume[.]” Id. at 3335.

        The balance of equities weighs in favor of denying Plaintiffs’ motion.

                                           CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court deny Plaintiffs’

 motion for preliminary relief.



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 Date: January 23, 2025                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of this Memorandum in Opposition to
 Plaintiffs’ Motion for Preliminary Injunction was filed electronically through the Court’s ECF
 system.

 Date: January 23, 2025                                             /s/ Amanda J. Krause




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